Case 2:16-cv-02859-CAS-GJS Document 638 Filed 10/11/18 Page 1 of 1 Page ID #:26548

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV16-2859-CAS(PLAx)                                                  Date    October 11, 2018
 Title             MACOM TECHNOLOGY SOLUTIONS HOLDINGS, INC.; ET AL. v. INFINEON
                   TECHNOLOGIES AG; ET AL.



 Present: The                    CHRISTINA A. SNYDER, UNITED STATES DISTRICT JUDGE
 Honorable                       GAIL J. STANDISH, UNITED STATES MAGISTRATE JUDGE
                    Catherine M. Jeang                                                Laura Elias
                        Deputy Clerk                                        Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        Amanda Tessar                                                  David Wille
                      Elizabeth Banzhoff                                              Jeffrey Baxter
 Proceedings:                 TELEPHONE CONFERENCE RE: STATUS OF CASE

        Hearing held by telephone and counsel are present. The Court confers with
counsel, as stated on the record. The Court sets a Telephone Further Status Conference
re: Case on October 16, 2018, at 2:30 P.M. (P.S.T.), before Judge Christina A. Snyder
and Magistrate Judge Gail J. Standish. All parties are ordered to discuss the matter with
their clients and opposing counsel prior to the telephone conference. Counsel for
PLAINTIFF is ordered to initiate the telephone conference call THROUGH THE
TELEPHONE OPERATOR to include all counsel of record, and CHAMBERS at (213)
894-8551 on the date and time scheduled. If the Courts conference line is busy, continue
to try to connect, the Court may be finalizing a previous conference call. Counsel shall be
available 30 minutes prior and 30 minutes after the time scheduled for the telephone
conference. NOTE: During the telephone hearing, counsel must identify themselves
before they speak for the benefit of the Court and the Court Reporter.



                                                                                                00      :     18

                                                               Initials of Preparer                    CMJ




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                       Page 1 of 1
